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  10                       UNITED STATES DISTRICT COURT
  11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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  13 DENNIS RUTHERFORD, et al.,                  Case No. 75-cv-04111-DDP
  14                                             [PROPOSED] ORDER DENYING
                Plaintiffs,
  15                                             MOTION FOR CIVIL CONTEMPT
           v.
  16                                             Hon. Dean D. Pregerson
     ROBERT LUNA, Sheriff of Los                 Courtroom 9C
  17 Angeles County, in his official capacity,
     and the COUNTY OF LOS ANGELES,
  18
                Defendants.
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                      [PROPOSED] ORDER DENYING MOTION FOR CIVIL CONTEMPT
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   1                                [PROPOSED] ORDER
   2         This Court, having read and considered the parties’ prehearing briefing, the
   3 briefing on the motion for order to show cause re: contempt, and all other papers and
   4 arguments presented at the evidentiary hearing in this matter, and good cause
   5 appearing, IT IS HEREBY ORDERED THAT Plaintiff’s motion for civil
   6 contempt is DENIED because Defendants are in substantial compliance with the
   7 terms of the Preliminary Injunction.
   8         The Court ORDERS the parties to appear for quarterly status conferences,
   9 beginning three months from the date of this order, to assess whether Defendants
  10 have remained in substantial compliance.
  11         The Court also ORDERS that the Preliminary Injunction is hereby modified
  12 as follows:
  13         To Paragraph 1, the Court adds that: In the event that a person leaves the IRC
  14 to go to court, the 24-hour clock shall stop and shall begin anew if the person returns
  15 to the IRC. If a person leaves the IRC for medical treatment at another facility
  16 within or outside the Los Angeles County Jail System, the 24-hour clock shall be
  17 paused and resume when the person returns to the IRC, unless the person is housed
  18 at IRC 231 directly upon return from medical treatment.
  19         To Paragraph 4, the Court adds that: In the event that a person leaves an IRC
  20 holding cell to go to court, the 12-hour clock shall stop and begin anew if the person
  21 returns to the IRC. If a person leaves a holding cell to a temporary housing location
  22 with a bed or the person’s former permanent housing location with a bed, the 12-
  23 hour clock shall pause and resume when the person returns to an IRC holding cell.
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                      [PROPOSED] ORDER DENYING MOTION FOR CIVIL CONTEMPT
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   1 Additionally, a person may be held in a temporary holding cell or room beyond 12
   2 hours as permitted by law under Title 24 § 1231.2.2.
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   4        IT IS SO ORDERED.
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   6 DATED: June ____, 2023
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                                            Hon. Dean D. Pregerson
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                                            Judge, United States District Court
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                     [PROPOSED] ORDER DENYING MOTION FOR CIVIL CONTEMPT
